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                                                                                        FILED
                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF WYOMING


 MISTY CLEVENGER,                                                                  1:35 pm, 2/8/21
                                                                              U.S. Magistrate Judge
                Plaintiffs,
        vs.                                                   Case No. 20-CV-62-F


 TOWN OF GUERNSEY, WYOMING, a
 Wyoming municipal corporation; NICK
 PAUSTIAN, as an individual and in his
 Official capacity as the mayor of the Town
 of Guernsey; KATE FARMER, as an
 individual and in her official capacity as the
 clerk and treasurer for the Town of
 Guernsey; KELLY AUGUSTINE, as an
 individual and in his official capacity as
 Councilman,

                Defendants.


  ORDER GRANTING DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER [22]


       This matter is before the Court on Defendants’ Motion for a Protective Order [Doc. 22]

and Plaintiff’s Response [Doc. 25]. It is well settled that courts have broad discretion in ruling

on discovery matters, including protective orders. SEC v. Merrill Scott & Assocs., Ltd., 600

F.3d 1262, 1271 (10th Cir. 2010) (internal quotations omitted); FED. R. CIV. P. 26(c)(1);

Marsee v. U.S. Tobacco Co., 866 F.2d 319 (10th Cir. 1989). Having carefully considered both

parties’ respective proposed Protective Orders and the reasoning offered in support of the

proposal, the Court grants the Defendants’ Motion and enters the following Protective Order:
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        In support of the entry of a protective order to protect the discovery and dissemination

of confidential information or information which will improperly annoy, embarrass, or oppress

any party, witness, or person providing discovery in this case, IT IS HEREBY ORDERED:

     1. This Protective Order shall apply to all documents, materials, and information,

     including without limitation, documents produced, answers to interrogatories, responses to

     requests for admission, deposition testimony, and other information disclosed pursuant to

     the disclosure or discovery duties created by the Federal Rules of Civil Procedure and

     designated as “CONFIDENTIAL” pursuant to the terms of this Protective Order.

     2. Information designated “CONFIDENTIAL” shall be defined as:

            (a) Documents and information produced by any party when designated as

            “CONFIDENTIAL” as provided herein;

            (b) Documents and information produced by or obtained through releases when

            designated as “CONFIDENTIAL” as provided herein.

3.      CONFIDENTIAL information shall be used for the sole, strict and limited purposes of

motions, discovery, preparation for trial, and trial in this action, or the two related actions,

Dockets No. 20-CV-60 and CV61, or appeal therefrom.

4.      CONFIDENTIAL          documents,      materials,     and/or    information      (collectively

“CONFIDENTIAL INFORMATION”) shall not, without the consent of the party producing

it or further Order of the Court, be disclosed except that such information may be disclosed to:

               (a)     attorneys actively working on this case;

               (b)     persons regularly employed or associated with the attorneys actively

               working on the case whose assistance is required by said attorneys in the

               preparation for trial, at trial, or at other proceedings in this case;
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              (c)     the parties and designated representatives for the entity defendant;

              (d)     expert witnesses and consultants retained in connection with this

              proceeding, to the extent such disclosure is necessary for preparation, trial or

              other proceedings in this case;

              (e)     the Court and its employees (“Court Personnel”);

              (f)     stenographic reporters who are engaged in proceedings necessarily

              incident to the conduct of this action;

              (g)     deponents, witnesses, or potential witnesses; and

              (h)     other persons by written agreement of the parties.

5.     Prior to disclosing any CONFIDENTIAL INFORMATION to any person listed above

(other than counsel, persons employed by counsel, Court Personnel and stenographic

reporters), counsel shall provide such person with a copy of this Protective Order and obtain

verbal or written agreement from such person that he or she will be bound by its provisions.

6.     Documents are designated as CONFIDENTIAL by placing or affixing on them (in a

manner that will not interfere with their legibility) the following or other appropriate notice:

“CONFIDENTIAL.” Any information designated by a party as CONFIDENTIAL must first

be reviewed by lawyer who will certify that the designation as CONFIDENTIAL is based on

a good faith belief that the information is CONFIDENTIAL or otherwise entitled to protection

under Fed.R.Civ.P. 26(c).

7.     Whenever a deposition involves the disclosure of CONFIDENTIAL INFORMATION,

the deposition or portions thereof shall be designated as CONFIDENTIAL and shall be subject

to the provisions of this Protective Order. Such designation shall be made on the record during

the deposition whenever possible, but a party may designate portions of depositions as
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CONFIDENTIAL after transcription, provided written notice of the designation is promptly

given to all counsel of record within thirty (30) days after notice by the court reporter of the

completion of the transcript.

8.     A party may object to the designation of particular CONFIDENTIAL

       INFORMATION by giving written notice to the party designating the disputed

information within 30 days of its production. The written notice shall identify the information

to which the objection is made. If the parties cannot resolve the objection within ten (10)

business days after the time the objection is made, it shall be the obligation of the party

designating the information as CONFIDENTIAL to file an appropriate motion requesting that

the Court determine whether the disputed information should be subject to the terms of this

Protective Order within thirty (30) days of the aforementioned notice. If such a motion is

timely filed, the disputed information shall be treated as CONFIDENTIAL under the terms of

this Protective Order until the Court rules on the motion. If the designating party fails to file

such a motion within the prescribed time, the disputed information shall lose its designation as

CONFIDENTIAL and shall not thereafter be treated as CONFIDENTIAL in accordance with

this Protective Order. In connection with a motion filed under this provision, the party

designating the information as CONFIDENTIAL shall bear the burden of establishing that

good cause exists for the disputed information to be treated as CONFIDENTIAL.

9.     Documents designated CONFIDENTIAL shall not be filed with the Court except when

required in connection with motions under Fed. R. Civ. P. 12, 37, or 56, motions to determine

confidentiality under the terms of this Protective Order, motions related to discovery disputes

if the confidential documents are relevant to the motion, and in appendices, briefs, or pleadings

relating to an appeal. In the event it is necessary for the parties to file CONFIDENTIAL
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INFORMATION with the Court, the CONFIDENTIAL INFORMATION shall be filed in

accordance with the requirements of U.S.D.C.L.R. 5.1 (g).

10.    The terms of this Protective Order shall survive the termination of this action, and all

protections of this Protective Order shall remain in full effect in perpetuity.

11.    This Protective Order may be modified by the Court at any time for good cause shown

following notice to all parties and an opportunity for them to be heard.

       NOW, IT IS THEREFORE ORDERED the Defendants’ Motion for a Protective Order

[Doc. 22] is GRANTED.

       IT IS FURTHER ORDERED the parties abide by the terms and conditions of this Order

as stated above.

       DATED this 8th day of February, 2021.




                                     Kelly H. Rankin
                                     United States Magistrate Judge




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